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                                                     EXHIBIT A
                                       In re New Century TRS Holdings, Inc., Case No. 07-10416
        Movant: Deutsche Bank Trust Company Americas formerly known as Banker's Trust Company, as Trustee and Custodian for IXIS
                                                       D&G Reference: 211482/Batch 32

                                                   Original         Current
 Loan No.       Mortgagors        Loan Date                                         Current Value               Property Address
                                                  Loan Amt          Payoff

2000133201       PRASAD            6/2/2005     $268,850.00       $276,043.34           $215,000.00   2756 LA PALMA
                                                                                                      MODESTO CA 95354
                                                                                                      17210 CAMBERWELL GREEN LN
2000133391       RIVERA            6/8/2005      $92,800.00       $105,106.42           $127,000.00
                                                                                                      HOUSTON TX 77070
                                                                                                      2419 MACAU STREET
2000166388     ALVARADO           3/10/2006     $322,540.00       $339,744.34           $313,000.00
                                                                                                      BAKERSFIEL CA 93313
                                                                                                      1531 HUBBARD STREET
2000166464    TROWBRIDGE           3/3/2006     $225,600.00        $6,028.27            $120,000.00
                                                                                                      JACKSONVILLE FL 32206
                                                                                                      8903 LANSDOWNE DRIVE
2000166813      CASTILLO          2/23/2006     $263,200.00       $278,463.31           $240,000.00
                                                                                                      STOCKTON CA 95210
                                                                                                      111 03 225TH STREET
2000195097     VANDROSS            7/6/2006     $320,000.00       $332,427.79           $345,000.00
                                                                                                      QUEENS VILLAGE NY 11429
                                                                                                      610 JACKSON AVENUE
2000194767     ARENCIBIA          6/29/2006     $175,920.00       $186,616.73           $150,000.00
                                                                                                      LEHIGH ACRES FL 33972
                                                                                                      29876 CAMINO CRISTAL
2000194969       LERMA            6/28/2006     $302,400.00       $329,253.47           $365,000.00
                                                                                                      MENIFEE CA 92584
                                                                                                      29752 DESERT JEWEL DRIVE
2000194773     RODRIGUEZ          6/24/2006     $376,000.00       $408,280.06           $403,000.00
                                                                                                      MENIFEE CA 92584
                                                                                                      2524 SECRET DR
2000194973      PROSSER           6/22/2006     $140,000.00       $145,123.51           $158,000.00
                                                                                                      RUNNING SPRINGS CA 92382
                                                                                                      3351 WINTER WAY
2000195028      ROWLAND           6/28/2006     $248,000.00       $254,893.95           $300,000.00
                                                                                                      MADERA CA 93637
